     Case 1:08-cr-00214-RJA-HBS             Document 85        Filed 01/26/11      Page 1 of 8




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,




                                                                 Hon. Hugh B. Scott
                        v.

                                                                        08CR214A

                                                                      Report
 MONTU LIGHTEN,                                                         &
 AMANDA GOSS,                                                     Recommendation

                                  Defendants.


       This matter is referred to the undersigned to hear and determine pretrial matters pursuant

to 28 U.S.C. § 636 (b)(1)(A) and, pursuant to 28 U.S.C. § 636(b)(1)(B), to submit proposed

findings of fact and recommendations for the disposition of any motion excepted by 28 U.S.C.

§ 636(b)(1)(A) (Docket No. 15). The instant matter before the Court is defendant Amanda Goss’

motion to suppress evidence obtained during a search (Docket No. 83; cf. Docket No. 52).

Argument was held on January 11, 2011, on Goss’ latest motion and the matter was deemed

submitted (text minute entry, Jan. 11, 2011).

       In an earlier round of motions, defendants moved to suppress (Docket Nos. 21

(codefendant Montu Lighten), 52 (Goss)). An evidentiary hearing was held on October 30

(Docket No. 53 (transcript)), and November 9, 2009 (Docket No. 50 (transcript)1), for Lighten’s

suppression motion. This Court issued a Report & Recommendation (Docket No. 60) which



       1
           Neither Goss nor her counsel was present for this hearing.
     Case 1:08-cr-00214-RJA-HBS             Document 85       Filed 01/26/11      Page 2 of 8




recommended denying defendants’ suppression motions (id. at 13), which later was adopted by

Judge Arcara (see Docket No. 78, Order adopting Report & Recommendation as to codefendant

Montu Lighten). That Report had deferred for an evidentiary hearing the question whether to

suppress evidence obtained from the police stop of Goss (Docket No. 60, at 13). Familiarity with

that initial Report (Docket No. 60) is presumed.

                                         BACKGROUND

       Defendants were charged with conspiracy to distribute 5 grams or more of cocaine base,

in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B), (b)(1)(C), and possession of 5 grams or more of

cocaine base, in violation of 21 U.S.C. § 844(a), on April 8, 2008 (Docket No. 14, Indict.,

Count I). They were also charged with unlawful possession with intent to distribute of 5 grams

or more of cocaine base (or a mixture and substance containing cocaine), in violation of

21 U.S.C. § 841(a)(1) and (b)(1)(B), possession of that substance, in violation of 21 U.S.C.

§ 844(a) and 18 U.S.C. § 2 (id., Counts II, IV, III).

       During the evidentiary hearing held on Lighten’s motion (Docket No. 53, Oct. 30, 2009,

Tr.), Drug Enforcement Administration (“DEA”) agent Joseph Bongiovanni testified that, during

a felony arrest that agents “pretty much detain everybody in the vehicle until we realize officer

safety and the safety of others are accounted for,” (id. at 48). Bongiovanni then stated that,

during extraction of Goss, she “secreted the bag of cocaine, simultaneously during her

extraction” (id.). Before being handcuffed, Goss extracted the bag of drugs (id. at 49). DEA

agent Christopher Wisniewski later testified (again at Lighten’s evidentiary hearing) that as Goss

exited the vehicle, “a large quantity of cocaine in a plastic bag fell out from Amanda Goss’ shirt

and onto the ground” (Docket No. 50, Nov. 9, 2009, Tr. at 8).


                                                   2
     Case 1:08-cr-00214-RJA-HBS                Document 85    Filed 01/26/11      Page 3 of 8




       Goss initially sought to suppress evidence obtained pursuant to a search warrant executed

at 19½ Park Street, Tonawanda, New York, on April 8, 2008, as well as production of the

warrant, and the warrant application (Docket No. 52, Goss Motion at 4). She claimed that the

warrant was obtained after she invoked her right to counsel and that she was coerced or made to

sign the search warrant agreement (id.). She also sought to suppress the crack cocaine found

underneath her shirt because male police officers ordered Goss to lift her blouse. She contends

that she was ordered to lift her blouse and the officers searched her bra and found the crack

cocaine; the Drug Enforcement Administration and Tonawanda police claim that the crack

cocaine fell from defendant’s clothing as she exited her car. (See id. at 5.) She further contends

that any pat down search of Goss should have been limited to her outer clothes and that it should

not have reached her blouse or undergarments (see id.).

       Goss now contends that the stop leading to the search of her person lacked probable cause

as to her; there was no basis to ask her to leave the vehicle or to seize her (Docket No. 83, Def.

Pretrial Motion II, at 2-3). To be sustained as a Terry2 stop, defendant argues that the stop

needed to be based on a reasonable, individualized suspicion based upon articulable facts and any

frisk limited to a search for possible weapons, with the officers having reason to believe that this

defendant was armed (id. at 4-5).

       The Government contends that the Lighten and Goss’ vehicle was being followed by

DEA agents, and as Goss exited the vehicle at the Royal Restaurant, on Sheridan Drive,

Tonawanda, New York, the agents observed in plain view a plastic bag containing a white

powdery substance fall to the ground from under her shirt (Docket No. 84, Gov’t Response at 3,


       2
           Terry v. Ohio, 392 U.S. 1 (1968).

                                                   3
     Case 1:08-cr-00214-RJA-HBS            Document 85        Filed 01/26/11       Page 4 of 8




7; see Docket No. 54, Gov’t Response to Goss at 3). The Government now argues that Goss fails

to allege how her rights were violated (Docket No. 84, Gov’t Response at 5). The evidence was

seized after probable cause was found from codefendant Lighten’s activities (findings adopted by

this Court, id. at 5 & n.1). Once Goss and Lighten were at the Royal Restaurant parking lot,

officers had probable cause to believe that Lighten possessed cocaine (id. at 5). At that point, the

Government contends that the police had reasonable suspicion to stop defendants’ vehicle under

Terry (id. at 6). Goss’ arrest was justified because the agents observed the contraband fall from

her person when she exited the vehicle (id. at 6-7).

                                          DISCUSSION

I.     Probable Cause to Stop Goss

       The Government contends that probable cause existed when the police officers observed,

in plain view, the plastic bag drop from under Goss’s shirt as she exited her vehicle, arguing that

Goss voluntarily abandoned the object (Docket No. 54, Gov’t Response at 5-6; see Docket

No. 84, Gov’t Response at 7), Abel v. United States, 362 U.S. 217 (1960); California v. Hodari

D., 449 U.S. 621 (1991).

       Initially, Goss contended that there was an issue of fact as to the plastic bag that the

Government contends Goss dropped. She argued that the officers compelled Goss to reveal it

under her shirt. Upon this issue, the Court was to hold an evidentiary hearing. But her present

motion does not argue this, instead she contends that her extraction from the vehicle was without

probable cause, conceding that she dropped a plastic bag from her person (cf. Docket No. 83,

Def. Motion at 2-3). Therefore, an evidentiary hearing will not be necessary for this motion.




                                                 4
     Case 1:08-cr-00214-RJA-HBS             Document 85        Filed 01/26/11      Page 5 of 8




        To reach this point, however, the police needed probable cause to stop Goss’ vehicle and

to order her out of it. From the surveillance of Lighten (and as previously found, see Docket

No. 60, Report & Recommendation at 7) there was probable cause to stop the vehicle. The next

issue is whether there was sufficient cause to have the passengers in the vehicle get out of it.

During a lawful traffic stop, the police may order all passengers out of the vehicle as a

precautionary measure, without reasonable suspicion that a passenger poses a risk, Maryland v.

Wilson, 519 U.S. 408, 414-15 (1997); see Brendlin v. California, 551 U.S. 249, 258 (2007).

Goss argues that this was not a traffic stop (Docket No. 83, Def. Motion at 4). She claims the

stop of this vehicle had the same effect as if the reason for the stop was a traffic infraction. As

noted in Brendlin, supra, 551 U.S. at 258, “it is also reasonable for passengers to expect that a

police officer at the scene of a crime, arrest, or investigation will not let people move around in

ways that could jeopardize his safety.” Hence, the officers here could reasonably ask the

passengers to exit the vehicle, even if suspicion was founded on the driver from his observed

activities.

        Terry provides a different basis to stop a person for interrogation where is no probable

cause to arrest, see Arizona v. Johnson, 555 U.S. ___, 129 S. Ct. 781, 786 (2009); Terry, supra,

392 U.S. at 24. Terry focused on the brief investigative stop where the officer has reasonable

grounds to stop and investigate, but lacks full probable cause to arrest, Johnson, supra, 129 S.Ct.

at 786. The defendants in Terry were standing on a downtown corner believed by the police

officer to be “casing a job” for “a stick-up,” Terry, supra, 392 U.S. at 5, 6. Later cases involving

traffic stops analogized the traffic stop to the conditions upheld in Terry for pedestrian stops,

Johnson, supra, 129 S.Ct. at 786 (quoting Berkemer v. McCarty, 468 U.S. 429, 439 n.29 (1984)).


                                                  5
      Case 1:08-cr-00214-RJA-HBS            Document 85         Filed 01/26/11      Page 6 of 8




Therefore, the standards for a stop (regardless of the cause) from Terry apply here. There was

probable cause (as previously found) to stop the vehicle and, as held by the Supreme Court in

Brendlin and Johnson, at a minimum detain all persons in the vehicle. Once detained and

ordered out of the vehicle, Goss here dropped the drugs that lead to her arrest.

       Goss argued (Docket No. 83, Def. Motion at 4-5), there was no basis to frisk her absent

any perceived danger or belief that she possessed a weapon. Now Goss argues that the officers

did not frisk her; but she contends that drugs fell from her as she exited the vehicle (see id. at 3).

Any subsequent pat down search occurred after Goss’ arrest.

II.    Seizure of Dropped Cocaine

       The Government argues that Goss abandoned the drugs by dropping them, depriving her

of a basis to challenge the search (Docket No. 84, Gov’t Response at 7). Further, upon falling,

the drugs came in to the officers’ plain view and subject to seizure (id. at 3) and additional drugs

found on Goss were due to a search incident to her arrest (id. at 8).

       Goss’ motion to suppress the seized drugs should be denied.

                                          CONCLUSION

       Based upon the above, it is recommended that defendant Amanda Goss’s motion (Docket

No. 83) to suppress physical evidence obtained during the stop of the vehicle be denied; an

evidentiary hearing will not be necessary.



       Pursuant to 28 U.S.C. § 636(b)(1), it is hereby ordered that this Report &

Recommendation be filed with the Clerk of the Court and that the Clerk shall send a copy of the

Report & Recommendation to all parties.


                                                   6
     Case 1:08-cr-00214-RJA-HBS            Document 85        Filed 01/26/11      Page 7 of 8




       ANY OBJECTIONS to this Report & Recommendation must be filed with the Clerk

of this Court within fourteen (14) days after receipt of a copy of this Report &

Recommendation in accordance with 28 U.S.C. § 636(b)(1), Fed. R. Cr. P. 59(b) (2)

(effective December 1, 2009) and W.D.N.Y. Local Criminal Rule 58.2(a) (3).

       FAILURE TO FILE OBJECTIONS TO THIS REPORT & RECOMMENDATION

WITHIN THE SPECIFIED TIME OR TO REQUEST AN EXTENSION OF SUCH TIME

WAIVES THE RIGHT TO APPEAL ANY SUBSEQUENT DISTRICT COURT’S

ORDER ADOPTING THE RECOMMENDATIONS CONTAINED HEREIN. Thomas v.

Arn, 474 U.S. 140 (1985); F.D.I.C. v. Hillcrest Associates, 66 F.3d 566 (2d Cir. 1995); Wesolak

v. Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

       The District Court on de novo review will ordinarily refuse to consider arguments, case

law and/or evidentiary material which could have been, but was not, presented to the Magistrate

Judge in the first instance. See Patterson-Leitch Co. Inc. v. Massachusetts Municipal Wholesale

Electric Co., 840 F.2d 985 (1st Cir. 1988).

       Finally, the parties are reminded that, pursuant to W.D.N.Y. Local Criminal Rule

58.2(a)(3), “written objections shall specifically identify the portions of the proposed findings

and recommendations to which objection is made and the basis for such objection and shall be




                                                 7
    Case 1:08-cr-00214-RJA-HBS           Document 85       Filed 01/26/11    Page 8 of 8




supported by legal authority.” Failure to comply with the provisions of Rule 58.2(a)(3) may

result in the District Court’s refusal to consider the objection.

       SO ORDERED.

                                                              /s/ Hugh B. Scott
                                                                  Hon. Hugh B. Scott
                                                           United States Magistrate Judge

Dated: Buffalo, New York
       January 26, 2011




                                               8
